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March 21, 2025
Hon. Margaret M. Garnett
United States District Judge
Southern District of New York
40 Foley Square, Room 2102
New York, NY 10007
Re:      Pospisil et al. v. ATP Tour, Inc. et al., No. 1:25-cv-02207-MMG (S.D.N.Y.) – Motion For Order
         Under Fed. R. Civ. P. 23(d)
Dear Judge Garnett,
We represent the Plaintiffs and the putative class members in this antitrust class action (the “Action”). We
write concerning improper communications made by, at least, Defendant ATP Tour, Inc. (“ATP”) to pu-
tative class members after the filing of this suit. In the class action context, the law protects putative class
members against efforts by Defendants to intimidate, coerce, or threaten them for participating in the suit.
See Kleiner v. First Nat’l Bank of Atlanta, 751 F.2d 1193, 1200-01 (11th Cir. 1985). Regrettably, that is
precisely what is happening now.
Immediately after this lawsuit was filed, ATP initiated a series of meetings and conversations with putative
class members at their place of work, the ongoing Miami Open tennis tournament. In some of these dis-
cussions, ATP officials have threatened players with adverse consequences for participating in this Action
and asked players to sign an already-prepared document disavowing the lawsuit. We are actively investi-
gating this issue, but our findings to date demonstrate impermissible conduct by ATP that requires prophy-
lactic intervention from this Court. Through this letter motion, Plaintiffs seek a limited, narrowly-tailored
order pursuant to Fed. R. Civ. P. 23(d) restraining the Defendants from engaging in improper, coercive,
or threatening communications with Plaintiffs and putative class members. Plaintiffs also request that this
Court expedite its consideration of this motion to put an immediate end to ATP’s ongoing actions. This is
Plaintiffs’ first request for such relief. Because Defendants have not yet appeared, Plaintiffs will promptly
serve this letter motion via e-mail and FedEx Overnight Delivery in conformance with Fed. R. Civ. P. 5.
Plaintiffs brought this lawsuit on behalf of all current, former, and future professional tennis players who
compete in ATP’s events. The case challenges ATP’s anti-competitive practices under the federal antitrust
laws: (i) the price fixing of the compensation that professional tennis players may earn; (ii) the systems
implemented to limit player mobility and free competition for players’ services; (iii) the restraints on
competition between tournaments; and (iv) the abusive investigations and discipline imposed on players.
ATP has responded to the litigation by engaging in hamfisted tactics with individual players. For example,
at the ongoing Miami Open tournament, Luben Pampoulov, a member of ATP’s Board of Directors, ap-
proached a player in an area designated for players only and demanded that this player sign a pre-written
letter denouncing this lawsuit. See Declaration of Wajid Mir Syed (“Syed Decl.”) ¶ 12. Mr. Pampoulov
had a pen and paper in hand. Id. Senior ATP officials also have entered player-only areas at the Miami
Open to demand players condemn this Action and warn that ATP plans to respond by reducing their wages
and their pensions. Id. ¶¶ 9-10. This conduct constitutes flagrant interference with this Court’s jurisdiction
and Plaintiffs and putative class members’ rights to participate in litigation and to vindicate their rights.
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Plaintiffs respectfully request that the Court enter an order under Fed. R. Civ. P. 23(d) restricting Defend-
ants from engaging in further communications with putative class members that interfere with their rights
and the integrity of this Action.

   I.      Legal Standard
“[E]ven prior to certification, a district court may, pursuant to Rule 23(d), regulate communications by
parties and their counsel with putative class members.” Hinds County v. Wachovia Bank N.A., 790 F.
Supp. 2d 125, 134 (S.D.N.Y. 2011); see also Fed. R. Civ. P. 23(d)(1); Gulf Oil Co. v. Bernard, 452 U.S.
89, 101-02 (1981); Dodona I, LLC v. Goldman, Sachs & Co., 300 F.R.D. 182, 184 (S.D.N.Y. 2014). “[A]
district court’s authority under Rule 23(d) is not limited to communications that actually mislead or oth-
erwise threaten to create confusion, but extends to communications that interfere with the proper admin-
istration of a class action or those that abuse the rights of members of the class.” In re Currency Conversion
Fee Antitrust Litig., 361 F. Supp. 2d 237, 252-53 (S.D.N.Y. 2005).
Accordingly, courts routinely issue orders restricting communications made from defendants to putative
class members that may chill participation in a lawsuit, create confusion, or otherwise impair the fairness
of class proceedings. See, e.g., Romano v. SLS Residential Inc., 253 F.R.D. 292, 297-99 (S.D.N.Y. 2008);
Shulman v. Becker & Poliakoff, LLP, 2018 WL 4961003, at *5-7 (S.D.N.Y. 2018). Courts have also held
that such orders are especially warranted when a defendant has a special relationship with putative class
members, such as an employer, because the defendant’s influence may exert undue pressure on plaintiffs.
See, e.g., Urtubia v. B.A. Victory Corp., 857 F. Supp. 2d 476, 485 (S.D.N.Y. 2012) (“Defendants’ work-
place relationship with current employees, and their knowledge of sensitive information about current and
former employees, put them in a position to exercise strong coercion in connection with potential class
members’ decisions regarding participation in this litigation”); Ralph Oldsmobile v. Gen. Motors Corp.,
2001 WL 1035132 at *4 (S.D.N.Y. 2001) (defendant must issue corrective statement where “potential
class members depend[ed] upon the defendant for information, supplies, and credit”); Kleiner, 751 F.2d
at 1203 (upholding restrictions on communications with potential class members regarding class action
because “unsupervised, unilateral communications with the plaintiff class sabotage the goal of informed
consent by urging exclusion on the basis of a one-sided presentation of the facts, without opportunity for
rebuttal[, and t]he damage from misstatements could well be irreparable”).
   II.     ATP’s Communications Are Coercive and Undermine the Integrity of the Litigation
ATP is uniquely positioned to exert pressure over putative class members, all of whom are subject to
ATP’s governance, rules, and potential disciplinary actions. Put simply, no player can play professional
tennis without ATP’s approval, and ATP has multiple ways to punish players and degrade their profes-
sional experience. These include the selection of practice times and practice locations, the withholding of
wildcard invitations to upcoming tennis tournaments and the manipulation of when and how those invita-
tions are extended, the selection of match start and location times, and the seizure of cell phones as part
of “investigations” into betting or doping allegations, among many other examples. The coercive and
retaliatory message is loud and clear. Given ATP’s total control over tournament participation, ranking
point systems, and revenue distribution, players reasonably perceive communications from ATP regarding
this Action as attempts to dissuade players from participation, or as attempts to retaliate against those who
join the Action. ATP’s coercive power over the players is undeniable.
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ATP officials have leveraged that power to directly or indirectly contact putative class members regarding
this Action in a manner that is misleading, deceptive, and coercive. Specifically, ATP has:
   i.          Threatened putative class members that, if this litigation persists, ATP plans to reduce their com-
               pensation, including prize money and pensions, to offset ATP’s attorneys’ fees, Syed Decl. ¶ 10;
 ii.           Confronted at least one player in a highly sensitive location within his place of work with a pen
               and paper seeking the player’s signature on a letter opposing this lawsuit, and refused that player’s
               request to show the letter to his attorneys, id. ¶ 12; and
 iii.          Attempted to pressure players to sign statements stating they had no prior knowledge of this Ac-
               tion, when indeed they did have prior knowledge, id. ¶ 11.
Such communications create a clear risk of chilling participation and undermining putative class members’
ability to make an informed decision about vindicating their legal rights. Courts often intervene in similar
circumstances to prevent defendants from leveraging their control over the workplace to obstruct fair par-
ticipation in litigation.
        III.      Requested Relief
To protect the rights of putative class members and to ensure the fair administration of justice, Plaintiffs
respectfully request that the Court issue an order:
  1.           Prohibiting Defendants from communicating with putative class members regarding their partici-
               pation or involvement in this Action, other than through Plaintiffs’ counsel, absent Court permis-
               sion;
  2.           Requiring Defendants to disclose all prior communications with putative class members regarding
               this Action, including the contents and recipients of such communications;
  3.           Requiring Defendants to preserve all communications (emails, texts, chats, draft statements, signed
               statements, etc.) relating to their efforts to approach players and ask them to sign paperwork con-
               demning this lawsuit; and
  4.           Authorize the Plaintiffs to issue a corrective statement to all putative class members explaining
               their legal rights to participate in this lawsuit free from retaliation by the Defendants.

These proposed remedies mirror those imposed by other courts and are narrowly tailored to prevent abuse,
while still allowing ATP to communicate with players in the ordinary course of its business administering
professional tennis. See Kleiner, 751 F.2d at 1205-06; Urtubia, 857 F. Supp. 2d at 485.
Given ATP’s significant influence over the players, this intervention is necessary to ensure players can
make informed decisions about their participation in this case, and fully and freely pursue their legal rights
without undue influence by the same parties who control their paychecks and professional endeavors.
We appreciate the Court’s attention and are available for a hearing at the Court’s convenience.

Respectfully submitted,
/s/ James W. Quinn
James W. Quinn
Counsel for Plaintiffs
